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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

IN RE:                                                     §
                                                           §
BENDCO, INC.                                               §     CASE NO. 18-30849
                                                           §
  DEBTOR                                                   §     CHAPTER 11


                       DISCLOSURE OF COMPENSATION PURSUANT TO
                        11 U.S.C. § 329 AND BANKRUPTCY RULE 2016 (B)

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Pursuant to 11 U.S.C. § 329 and Bankruptcy Rule 2016 (b), the law firm of Fuqua &

Associates, PC, Counsel for the above-captioned Debtor makes, this its statement, setting forth the

compensation paid or agreed to be paid to it for services rendered or to be rendered by Fuqua &

Associates, PC in contemplation of and in connection with the above-entitled and numbered

bankruptcy case, and the service of such compensation.

                                                           I.

         At the present time, the Firm charges the following billing rates:

         Richard L. Fuqua, Attorney-in-Charge                    $500.00 an hour
         Mary Ann Bartee, Associate                              $350.00 an hour
         Michael L. Fuqua, Associate                             $300.00 an hour
         T.J. O’Dowd, Legal Assistant                            $ 95.00 an hour
         Teri Burgess, Legal Assistant                           $ 75.00 an hour


                                                           II.

         On February 21, 2018, this Firm received a deposit of $8,717.00 Eight Thousand Seven

Hundred Seventeen and No/100 Dollars ($8,717.00) for services and costs incurred by Fuqua &

Associates, PC on behalf of the Debtor herein related to the instant proceeding.

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         On February 21, 2018, this Firm received an additional deposit of $9,000.00 Nine Thousand

and No/100 Dollars ($9,000.00) for services and costs incurred by Fuqua & Associates, PC on behalf

of the Debtor herein.

         On February 21, 2018, this Firm received an additional deposit of $9,000.00 Nine Thousand

and No/100 Dollars ($9,000.00) for services and costs to be incurred by Fuqua & Associates, PC on

behalf of the Debtor herein related to the instant proceeding.

         On the date of filing, the Debtor had a retainer on hand at Fuqua & Associates, PC of

$6,838.00 for services and costs to be incurred by Fuqua & Associates, PC on behalf of the Debtor.



                                                          III.

         The Debtor has promised to pay the Firm on an hourly fee basis for all legal services rendered

and to be rendered and all legal expenses incurred and to be incurred in connection with this Chapter

11 Bankruptcy Case. The Firm will be paid pursuant to the appropriate Orders of this Bankruptcy

Court approving compensation awards and expense reimbursements under 11 U.S.C. §§ 330 and

331.

                                                          IV.

         The Firm has not agreed, either directly or indirectly to share any compensation which it may

receive on account of representation of the interests of the Debtor with any other person.

         Respectfully submitted this 25th day of March, 2018.




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                                                        Respectfully submitted,

                                                        FUQUA & ASSOCIATES, PC

                                              By:         /s/ Richard L. Fuqua
                                                        Richard L. Fuqua
                                                        Texas Bar No. 07552300
                                                        5005 Riverway, Suite 250
                                                        Houston, Texas 77056
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                                                        COUNSEL FOR DEBTOR




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